                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN

JESUS RANGEL,
                  Plaintiff,
      vs.
JESSICA S. LORUM,                                     Case No. 19-cv-0451
NEIL THORESON, and
WILLIAM FRANCIS


                       Defendants.


                   ORDER GRANTING STIPULATION FOR DISMISSAL


          PURSUANT TO the foregoing stipulation between the parties,

          IT IS HEREBY ORDERED that this matter shall be, and hereby is dismissed, with

prejudice, and without fees and costs to any party.

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